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                EXHIBIT 5
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 Attention to metrics can stanch Rikers’
 bleeding

 By Elizabeth Glazer and Vincent Schiraldi
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 Last month, the year’s 13th person died in the city’s jails. Michael
 Nieves reportedly slit his throat and bled out while officers watched.
 The toll is on track to be the deadliest in almost a decade when the
 number of people incarcerated there was more than double what it is
 today. On the day Nieves died, three elected officials paid an
 unannounced visit to the jails, in part to take a look at suicide
 prevention efforts. Upon leaving, they pronounced conditions
 “improved.” The Department of Correction’s representatives did not
 mention that Nieves was lying comatose in a hospital bed from a
 suicide attempt just three days before.

 Have the city jails improved? A cool assessment of the numbers
 shows a house on fire. In addition to the record-setting numbers of
 deaths over the last decade, stabbings and slashings are already up
 34% over last year and 353% since 2019 — canaries in the mine for
 the complete unraveling of the jails’ functions.




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 The stakes couldn’t be higher, and the question is sharp: Does the city
 alone have the capacity and power to stop the violence, or is a
 different approach necessary?

 This is the question a court must answer in November. For seven
 years, a federal judge and monitor have tried to implement the terms
 of a consent decree intended to address unconstitutional levels of
 violence. Since then, violence has instead skyrocketed. In March, the
 monitor issued a hair-raising report questioning whether the
 department — failing every single task set by the consent decree —
 had either the capacity or the will to improve conditions.




 The U.S. Manhattan attorney, one of the plaintiffs in the lawsuit, has
 raised the specter of a federal receivership to break the deadly
 logjam. A receiver would have court-conferred authority to cut through
 the myriad levels of dysfunction driving the violence, for example,
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 speeding up contracting to get locking doors or addressing the
 bargaining agreements and discipline rules that are behind the
 increasing absenteeism of the workforce.

 At the November meeting, the court will make a judgment as to
 whether conditions are getting better and, if not, what the remedy
 should be. We propose that, at a minimum, four core measures
 should be publicly available and scrutinized by the court, the parties
 and the public to assess progress.

 The number and manner of deaths. While any death should be rare in
 jail — a temporary place of pretrial detention — the way people have
 died signals myriad underlying systemic problems. This year, one man
 choked to death on an orange, unattended by correctional staff until
 those incarcerated with him banged on doors to get attention and
 carried him out. Three people died by suicide. A failure to get people
 to medical appointments (nearly 9,000 times in July) is fueling the
 deaths.




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 Stabbings and slashings. In an institution where record-keeping is
 sometimes non-existent and often not reliable, stabbings and
 slashings offer a neutral measure of the violence. This is because
 each assault requires a clinic visit and documentation of injuries.

 The story this metric tells is horrifying: Slashings and stabbings are
 expected to be six times above the rate they were when the federal
 monitor was appointed in 2016 to stem the violence.
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 Who’s coming to work. Although the city’s jails are the most richly
 staffed in the country, the failure to staff posts has created deadly
 conditions. On an average day, more than a quarter of the staff does
 not come to work or is unable to work in the jails.

 How long people are incarcerated. Today, 26% of the population has
 been there for more than a year, compared to approximately 15% in
 2019. The longer people stay, the more difficult, tense and potentially
 violent conditions become. The court has directed the jails to reduce
 the time people are held — an exercise that will require coordination
 with many other parts of the criminal justice system, not just the city.

 Today, it seems as if New Yorkers and their government have become
 numb to the escalating humanitarian disaster in the city’s jails.
 Despite an able, committed and vigorous press corps that surfaces
 tragedy after tragedy, there is lassitude when the situation requires
 urgency.

 Metrics are the key to stop the bleeding: They signal where the issues
 are and what is fueling the dysfunction. Absent a clear-eyed ability to
 examine conditions in the nation’s most notorious jail system, policy
 makers and the courts will not be able to assess fairly — no less fix —
 conditions, leading to a future even bloodier than we are already
 seeing.

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 Mayor de Blasio and Gov. Cuomo, and a former federal prosecutor.
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